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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
_____________________________________

SEAN M. GERLICH, et al.,

      Plaintiffs,

           v.                                        Civil Action No. 08-1134 (JDB)

UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

     Defendants.
_____________________________________

    PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES
    IN SUPPORT OF THEIR MOTION FOR CLASS CERTIFICATION

                               Preliminary Statement

      This is a civil suit that has been filed as a putative class action involving

hundreds of young attorneys who were treated by the United States Department of

Justice and some of its top officials in a manner that was at once both stunningly

corrupt and, in the recent words of former Attorney General Alberto R. Gonzales,

just one of “the little negatives that occurred.”1


1
  It seems increasingly clear that defendant Gonzales has decided that the time is
now right for him to attempt to somehow vindicate his Justice Department tenure
in the eyes of the general public through “news” creation, as indicated on a Web
site established for this purpose entitled “Gonzales.Facts.com,” the main page of
which begins as follows: “***NewsAlert*** Watch Interviews with Judge
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      The suit was commenced by filing of the Complaint on June 30, 2008, with

the distinct class action allegations that are required by rule,2 and after successive

amendments soon thereafter it is now proceeding on the basis of the Second

Amended Complaint, which was filed by Order of the Court on November 13,

2008. It, too, contains the necessary class action allegations, though more broadly

stated against a total of six defendants under what for convenience can be referred



Gonzales” (available at http://www.gonzalesfacts.com/home.html, last visited
Feb. 9, 2009). (This Web site actually links to the recent National Public Radio
interview in which defendant Gonzales spoke impliedly of being “engaged” in
matters of politicized hiring. See Plaintiffs’ Consolidated Memorandum of Points
and Authorities in Opposition to Defendant Elston’s Motion to Dismiss and in
Further Support of Plaintiffs’ Cross-Motion for Scheduling Conference, filed Feb.
2, 2009 (Plaintiffs’ Cross-Motion Reply Memorandum), at 6 n.6. It also contains
the following: “To contribute to the Alberto R. Gonzales Legal Expense Trust,
please go to www.gonzalesdefense.com.”)

       Notably, the statement by defendant Gonzales that is quoted in the text was
part of a Cable News Network interview with CNN anchor Campbell Brown
conducted on February 3, 2009, and was uttered in the context of “political bias
and ideology” (Ms. Brown’s words) in Justice Department “hiring” decisions
during his tenure. Said defendant Gonzales, after first touting (with no evident
sense of irony) his record of “prosecution of public corruption” elsewhere:
“[C]learly mistakes were made . . . there were political considerations taken with
respect to the hiring decisions made by some of the staff.” The full video of this
broadcast can be viewed at this link: http://video.aol.com/video-detail/alberto-
gonzales-uncut/1765901518/?icid=VIDLRVENT07. What is not yet “clear,” to
use his word, is the extent to which defendant Gonzales was “engaged.” What is
clear is that while his public relations efforts doubtless have revealed more than
intended in this regard, they are no substitute for a judicially enforced deposition.
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to as the Privacy Act and the Bivens parts of the case. See Second Amended

Complaint, filed Nov. 13, 2008, ¶¶ 227-32. Plaintiffs now have moved for an

appropriate order certifying this case as a class action, as further required by rule,3

but they do so with the recognition that due to the continued deficiencies attendant

upon the pending dismissal motion filed by one of the defendants, the parties stand

in disagreement over the exact number of class representatives in different

categories of the case.4

        For this reason, and more importantly for the clarity that it yields, plaintiffs

will present the case for class certification with specific reference to particular

parties, claims, and groups of putative class members who occupy different

categories of those victimized by defendants’ alleged wrongful actions. At the end




2
    See Complaint, filed June 30, 2008, at ¶¶ 89-94.
3
 See, e.g., plaintiffs’ Motion for Preliminary Scheduling Order, filed June 30,
2008, at 2 (citing F.R.C.P. 23(c)(1)).
4
  Although this circumstance has created an element of indefiniteness currently,
plaintiffs are confident that they will be able to move this basic aspect of the case
toward a proper adjudication prior to the necessary resolution of the instant
motion. See note 12 infra; accord Local Civil Rule 23.1(b) (providing that a court
“may order that a ruling [on class certification] be postponed pending discovery”);
see also Order of July 14, 2008 (contemplating “an appropriate scheduling order
once the defendant has responded to the complaint”).
                                           -3-
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of the day, plaintiffs respectfully suggest, it should be clear that the full facts of

this extraordinary case warrant its certification as a class action beyond any

reasonable challenge.5

                                       Argument

      The starting point for consideration of class certification of this case ought

to be a full appreciation of the total number of Attorney General’s Honors


5
  Plaintiffs have vociferously argued elsewhere that it is most appropriate for the
Court to have a complete record before it prior to exercising its judgment as to
whether to recognize Bivens jurisdiction on the extraordinary facts of this case.
See, e.g., Plaintiffs’ Consolidated Memorandum of Points and Authorities in
Opposition to Defendants’ Motions to Dismiss and in Support of Plaintiffs’ Cross-
Motion for Scheduling Conference, filed Jan. 9, 2009 (Plaintiff’s Consolidated
Memorandum), at 4-5 n.8. (Indeed, the propriety of this has only been reinforced
with the passage of time since the filing of this suit, as it now seems that almost
weekly defendant Gonzales makes a public statement that opens the door further
toward that – see note 1, supra, and accompanying text – and even defendant
Department of Justice has now, for the first time, officially suggested that
defendant Goodling was directly involved in the “internet printouts” that are
central to this case. Defendant Department of Justice’s Reply in Support of
Motion to Dismiss Second Amended Complaint, filed Jan. 23, 2009 (Defendant
Department of Justice’s Reply Memorandum), at 17 (speaking of defendant
Goodling’s record-retention practices as if applicable).)

        Defendants for their part might well argue likewise here, particularly insofar
as the discovery necessary to create such record completeness could conceivably
remove certain aspects (e.g., pertaining to the year 2002) from the case. See, e.g.,
Plaintiffs’ Cross-Motion Reply Memorandum at 18. Plaintiffs’ position on this is
that the Court could appropriately proceed to the matter of class certification at
this point, with full certification as is requested here, but that they are entitled to
first support their full certification claims on the basis of appropriate discovery if
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Program and Summer Law Intern Program applicants involved. Plaintiffs have

stated that number as exceeding 800, based upon the specifications contained in

the Department of Justice’s own Inspector General’s report entitled, “An

Investigation of Allegations of Politicized Hiring in the Department of Justice

Honors Program and Summer Law Intern Program” (Defendants’ June 24 Report

or Report I). Second Amended Complaint, ¶ 229. The exact total number appears

to be known only to defendant Department of Justice and should be determined

with precision once that party is in a position to reliably do so.

        Of that total, however, the putative class members readily can be seen as

falling into four subgroups, according to both year and program type. It is no

secret that there are only two of each involved here, as there is no basis upon

which to contend otherwise. Thus, there is (A) a group of Honors Program

applicants found to have been “deselected” in 2006; (B) a group of such SLIP

applicants in that same year; (C) a group of Honors Program applicants identified

as “deselected” in 2002; and (D) a group of such SLIP applicants in that same

year.

        As to “Group A,” the Inspector General’s June 24 report identifies 170 such

applicants. See, e.g., Report I at 38 (reaching that number through the subtraction


necessary otherwise. Accord id. at 11 &- n.13.
                                         5-
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of 16 from 186).6 As to “Group B,” the Inspector General’s June 24 report

identifies 189 such applicants. See, e.g., Report I at 53 (reaching that number

through the subtraction of 13 from 202). As to “Group C,” the Inspector General’s

June 24 report identifies 287 such applicants. See, e.g., Report I at 20 (reaching

that number through the subtraction of 20 from 307). And as to “Group D,” the

Inspector General’s June 24 report identifies 185 such applicants. See, e.g.,

Report I at 18. This amounts to a total of 831 applicants who have every reason to

conclude that they were (to put it mildly) wrongfully treated by defendant

Department of Justice through its employees in one of those programs in one of

those years7 and must look to the Court in this lawsuit for relief.8


6
  It should be noted that since the filing of this lawsuit, defendant Department of
Justice (as opposed to its Inspector General) has taken action as to this first
category of putative class members that appears to be inconsistent with, inter alia,
this number. This will be addressed in more conclusive detail in connection with
plaintiffs’ impending motion to strike defendant Department of Justice’s
“corrective” declaration, so suffice to note here, just as a numerical point, that it
appears there might be some discrepancy in the 2006 Honors Program subclass as
between the numbers 170 and 167.
7
  Plaintiffs acknowledge that due to the “career ladder” relation between the two
programs, the possibility of intervening judicial clerkships, and the four-year span
involved, it is theoretically possible that a SLIP applicant in 2002 could also be an
Honors Program applicant in 2006, thus reducing the total number of actual
individuals who could participate in a class. Given that judicial clerkships rarely
consume a total of more than two years of an attorney’s career development,
however, that possibility should be regarded here as negligible.
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      To this breakdown -- or aggregation, looked at another way – must be added

the basic fact (although it appears to have eluded defendant Department of Justice

within the formulaic structure of its briefs) that the Privacy Act part of this case

pertains to the two programs for the year 2006 only. In other words, while it

might well be that the particular Privacy Act-violative conduct found by the

Inspector General to have been employed in 2006 also was employed in the year

2002 – and thus was likewise contributory to the wrongful results found to have

been achieved in that year – there is no evidence of that. And plaintiffs certainly

have not claimed that there is such or that there is expected to be.9


8
  At this point, plaintiffs see no risk of overstatement in asserting to the Court that
there certainly appears to be no reasonable prospect of appropriate redress,
including adequate deterrence of future such unlawful conduct, through any
avenue other than this lawsuit. Certainly it now is clear that nothing of the kind
can be expected from the Obama Administration; quite the contrary. See, e.g.,
Plaintiffs’ Cross-Motion Reply Memorandum at 1-2 n.1. And as is pointed out
below, for example, defendants’ collective suggestion that the plaintiffs and
putative plaintiffs before the Court here ought simply follow an Office of Special
Counsel process toward redress is just plain ludicrous -- especially as to the 2002
applicants and the SLIP applicants for the 2006 year. See note 20 infra. Indeed,
even if defendant Department of Justice were to produce one or more applicants
who accepted its highly questionable “offer” this past fall, that would prove
nothing in the full context of this case.
9
  One caveat is necessary here: Because plaintiffs intend to depose both defendant
Louis G. DeFalaise and defendant Gonzales in this case, each of whom held
federal office in 2002 and was in a position to know of such a thing (i.e., Privacy
Act-violative involvement) if it did in fact occur, it is always possible that upon
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      So this means that, in the structural parlance adopted above, appropriate

class certification as to plaintiffs’ Privacy Act claims10 (1) is as to the total of 359

putative class members in Groups A and B combined, (2) is as to defendant

Department of Justice only,11 and (3) involves plaintiffs Sean M. Gerlich,


the appropriate completion of this case’s record there could be evidence on this
point for which conformity of the pleadings would be warranted. Accord F.R.C.P.
15(b); cf. Second Amended Complaint, ¶ 236 (claiming as-yet-indeterminate
money damages as against defendants Gonzales and DeFalaise for the year 2002);
accord id. at ¶ 66 (citing Report I at 98 as to what is “as yet unknown”); Plaintiffs’
Cross-Motion Reply Memorandum, at 6-7 n.7. For present purposes, however,
and to best facilitate the efficient certification of a class, plaintiffs do no more than
identify this as a mere possibility here.
10
  This includes this suit’s claims for declaratory and injunctive relief as to the
Privacy Act, as well as with respect to the Federal Records Act, though the
interests involved in those claims are broadly held. Beyond that, all plaintiffs seek
declaratory judgment and injunctive relief as to the grossly unlawful conduct
found to have taken place during both 2002 and 2006. See Second Amended
Complaint, ¶¶ 238, 240.
11
   Notwithstanding the lengths to which some of the individual defendants have
gone to brief the “issue” as if it really is one – see, e.g., Memorandum of Points
and Authorities in Support of Defendant Michael J. Elston’s Motion to Dismiss
Plaintiffs’ Second Amended Complaint, filed Dec. 2, 2008, at 17-19 – there simply
is no individual civil liability under the Privacy Act for federal employees. While
the defendants (speaking collectively) do recognize this when attempting to argue
that the Privacy Act (atop the CSRA) “precludes” Bivens jurisdiction in this case,
just reflexively following this Court’s ruling in Wilson v. Libby, they fatally fail to
recognize that the wrongful conduct involved there actually was the Privacy Act-
violative conduct, whereas here it was only facilitated by Privacy Act-violative
conduct. In fact, the nature and extent of the Inspector General’s findings for the
year 2002 in this case serve to make this very point. See note 7 supra.
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Christopher D. Coleman, James N. Saul, Matthew J. Faiella, and Daniel J. Herber

as class representatives.12

      As to the Bivens claims, the above likewise is so, except of course for the

fact that the Department of Justice is not the defendant involved;13 rather, before

the Court in this part of the case are the five individual defendants. And in

addition to the 359 putative class members referenced above (i.e., for the year

2006), there are a total of another 472 in Groups C and D combined, to which the


12
  To be sure, defendant Department of Justice has taken the position (variable
though it has been) that not all of these “2006 plaintiffs” are proper participants in
this lawsuit to begin with. This position was raised first in its dismissal motion, in
based upon an incompetent evidentiary foundation, which was compounded by
continued evidentiary reliance in its most recent filings. See, e.g., Defendant
Department of Justice’s Reply Memorandum at 3 (inexplicably still placing
primary reliance on first defective declaration). As plaintiffs more recently
represented to the Court, moreover, defendant Department of Justice’s attempts to
rectify its initial position in this regard are themselves so deficient as to be subject
to a motion to strike. See Plaintiffs’ Cross-Motion Reply Memorandum, at 2 n.1.
Defendant Department of Justice can expect that motion to be filed long before its
time to oppose the instant motion.
13
  It bears reiteration here that when defendant Department of Justice (with a
belatedness bespeaking diffidence) finally exercised its role of submitting a
“statement of interest” on the individual defendants’ behalves here, it uttered not a
word in favor of the Court according qualified immunity to any of the defendants.
See Plaintiffs’ Consolidated Memorandum at 43 n.65 (observing that this “speaks
volumes” on the qualified immunity question). Yet even with that, and with a
current Justice Department official now one of the defendants in the case, nothing
was said by defendant Department of Justice then in reply either. See Defendant
Department of Justice’s Reply Memorandum, passim.
                                          -9-
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Bivens claims (as to defendants Gonzales and DeFalaise) apply. See Second

Amended Complaint at ¶ 236; see also, e.g., id. at ¶¶ 201, 204, 207, 209, 217;

accord id. at ¶ 66 (citing Report I at 98 on Bivens significance of what is “as yet

unknown”). And of course the class representatives here also include plaintiffs

James K. Gooch, Benjamin M. Meier, and Ryan S. Spiegel.14

         Thus, in its totality this case involves four distinct subclasses, two types of

defendants, two “year-based” groups of plaintiffs, and two primary types of claims

(declaratory and injunctive relief claims being secondary). Whether certified as

one class of 831 individuals, two subclasses either of 457 and 374 individuals (if

divided along Honors Program/SLIP lines) or of 359 and 472 individuals (if

divided by year), or four subclasses of 170, 189, 287, and 185 individuals,

respectively, it should be clear that the result is essentially the same.15

         It likewise should be clear that certification of this case as a class action suit

against the individual and institutional defendants is entirely warranted. This is

not a case in which the putative plaintiffs are situated so as to have widely


14
     See also note 10 supra as to additional non-Bivens claims.
15
  Plaintiffs certainly do not overlook the fact that the numbers of persons found
by the Inspector General to fall within these subcategories – and thus the 831 total,
of course – include themselves as well. So the actual total of putative class
members seen as involved must be reduced accordingly.
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divergent interests in relation to the claims that are made; to the contrary, they are

very much of a piece. And of course a trial court is vested with broad discretion to

certify class actions under the federal rules. See generally Eubanks v. Billington,

110 F.3d 87 (D.C. Cir. 1997).

      Indeed, the provisions of Rule 23 of the Federal Rules of Civil Procedure

were well designed for a case such as this. As plaintiffs already have specified in

compliance with Local Civil Rule 23.1(a), the claims that are stated by the eight

plaintiffs in this case, in conjunction with the findings of defendant Department of

Justice’s own Inspector General, more than amply warrant the Court’s exercise of

its class-certification authority under Rule 23. See Second Amended Complaint,

¶¶ 227-32.

      All of the requisite elements for this are present here. First, the putative

members of the class as a whole, or even if divided into separate subclasses, are so

numerous as to make their joinder in this case impracticable. As noted above,

even the smallest of the potential subclasses here consists of as many as 170

persons (with the total class numbering no fewer than 831, including the

plaintiffs), which is more than adequate for the requisite numerosity. See, e.g.,

Newberg on Class Actions, § 3.05 (3d ed. 1992) (“In light of prevailing precedent,


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the difficulty inherent in joining as few as 40 class members should raise a

presumption that joinder is impracticable”).16

      Second, there certainly can be no doubt that there are, in the words of Rule

23, “questions of law or fact common to the class.” F.R.C.P. 23(a)(2). If nothing

else, the briefing that already has taken place in this case demonstrates that.

Accord Amchem Prods. v. Windsor, 521 U.S. 591, 615 (1997). Likewise, as to

“typicality,” the very nature of the unique fact pattern that is presented in this case

is such that it involves hundreds of career position applicants who know -- and,

given the character of defendants’ enterprise, in each and every case can know

only -- that they were wrongly “deselected” (a term that itself sounds misleadingly



16
   It is of course one thing to point to a sufficient number of putative plaintiffs here
in the context of establishing “numerosity” for purposes of class certification, but
quite another to envision the spawning of so many like plaintiffs in future Bivens
actions as to counsel against recognizing such jurisdiction as a more substantive
matter. Nevertheless, we have defendant Gonzales’s preposterous, last-ditch
attempt to persuade the Court that “[r]ecognition of a Bivens action in this context
would raise a tide of suits,” just as the Supreme Court feared in Wilkie v. Robbins.
Reply Memorandum in Support of Defendant Alberto R. Gonzales’s Motion to
Dismiss, filed Jan. 23, 2009, at 5. That of course is the whole point: Defendant
Gonzales is just very wrong about that – it is possible to achieve necessary Bivens
deterrence without opening Bivens floodgates, and this case’s rare fact pattern is
just the one to prove that. Cf. Pearson v. Callahan, 555 U.S. ___, slip op. at 17-18
(Jan. 21, 2009) (No. 07-751) (reasoning similarly toward end of affording greater
trial court discretion in case-management matters).
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benign) in favor of those deemed to be “good Americans,”17 who thus went on to

obtain prestigious, career-making Justice Department positions in their stead.18

      Lastly, Rule 23 for good reason further requires that any party seeking class

certification be one capable of “fairly and adequately protect[ing] the interests of

the class.” F.R.C.P. 23(a)(4). This requirement is incorporated into the Local

Civil Rules of this Court as meaning a plaintiff’s ability to serve as an “adequate

representative[s] of the class” on behalf of the putative class members. Local

Civil Rule 23.1(a)(2)(ii). As to this, plaintiffs already have stated that


17
  This perversely potent label, which in context is itself unAmerican, was coined
of course by defendant Monica M. Goodling as documented in the follow-up
Inspector General’s report of July 28, 2008 that she so aggressively doth protest
has “virtually nothing” to do with this case. Defendant Monica M. Goodling’s
Memorandum of Points and Authorities in Support of Her Motion to Dismiss the
Second Amended Complaint, filed Dec. 2, 2008, at 3 (traveling even further down
the ipse dixit path in contending also that “the June 24 report had virtually nothing
to do with Ms. Goodling”); see also Second Amended Complaint, ¶¶ 91-99.
18
   It ought not have escaped anyone’s notice that Attorney General Eric H. Holder,
Jr., like so many other attorneys of his generation, began his legal career as a
summer intern at the Justice Department (in its Criminal Division) and then as a
“selectee” for the Attorney General’s Honors Program upon his graduation from
law school in 1976. This better than perhaps anything else illustrates the unique
value of such positions. Indeed, plaintiffs challenge any of the defendants to this
civil action, or their counsel, to credibly contend that Attorney General Holder
would have been so readily able to rise to that position had he been an Honors
Program applicant under the circumstances as they existed in 2006 rather than in
the year 1975.

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      they are by their own circumstances situated similarly to the putative
      class members and are by virtue of their very close familiarity with
      the law and facts applicable to their claims and the common claims
      of putative class members uniquely qualified to proceed as their
      representatives in the vindication of their rights and the pursuit of
      appropriate redress for defendant Department of Justice’s and the
      individual defendants’ violations of same.

Second Amended Complaint, ¶ 230; see also id. at ¶¶ 3-10, 17-58. Beyond this,

though perhaps it could go without saying, it should by now be obvious to all

defendants to this action that plaintiffs through their counsel have sufficient

familiarity with the facts and law applicable to their claims as to be adequate

representatives of the interests both of themselves and of others.19 Accordingly,

plaintiffs respectfully submit that all requirements for certification of a class in



19
  To whatever extent that it might necessary for the Court to consider the relevant
experience of counsel in this regard, plaintiffs’ counsel affirmatively states at this
point that he has yet to prosecute a class action suit, as opposed to defending such
suits on the government’s behalf, but his experience as a Justice Department Trial
Attorney affords ready compliance with Local Civil Rule 83.2(b). In this same
vein, the Court can be assured that plaintiffs would more than adequately represent
a certified class’s interests in their Privacy Act claims, for instance, by not so
grossly misstating the law of Privacy Act record applicability as defendant
Department of Justice has done in its inapt reliance on the D.C. Circuit’s Maydak
decision. See Defendant Department of Justice’s Reply Memorandum at 13-14
(confusing Privacy Act subsection (e)(7)’s special breadth with principle that
agencies cannot evade Privacy Act restrictions merely through self-serving filing
failure). Plaintiffs respectfully request that oral argument be held on this part of
the case even if on no other.
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this case are amply satisfied.20


20
  In stating this, plaintiffs do not overlook the fact that as a group they directly
correspond to three of the four identified potential “subclasses” here, in that in the
aggregate their exact individual circumstances encompass both years and both
programs but do not currently include a SLIP applicant for the year 2006.
Plaintiffs respectfully suggest for several reasons, however, that this should be of
no moment here. First and foremost, there is no substance of significance
separating a mistreated Honors Program applicant from a SLIP one when it comes
to adequate class representation, at least not on these facts. Cf. Hartman v. Duffy,
19 F.3d 1459, 1471-72 (D.C. Cir. 1994). Second, as previously has been noted,
plaintiffs do have several additional prospective party plaintiffs “waiting in the
wings,” colloquially speaking, and they always could seek the Court’s leave to file
a Third Amended Complaint if any defendant were to seriously press the point.
See Plaintiffs’ Consolidated Memorandum at 15 n.17. Third, as was also
discussed above, one of the principles embodied in Rule 23 is “protect[ing] the
interests of the class.” F.R.C.P. 23(a)(4). It should be clear to all concerned by
now that representation in this lawsuit is the only interest “protection” that the
2006 year SLIP applicants are going to receive from anyone, anywhere, at any
time. In fact, it should not go unnoticed that when defendant Department of
Justice in September 2008 attempted some form of “remediation” for its unlawful
conduct during 2006, it certainly did not include the SLIP class members within
that.

        In response to this observation, of course, defendant Department of Justice
readily could point out that SLIP applicants are different, in that in the fall of 2006
they were applying for “summer associate” time period slots that just could not
possibly be replicated two years further down their timelines at a post-graduation
juncture. And of course in pointing this out defendant Department of Justice
would be entirely correct. But then how could it and other defendants have argued
(and actually continue to argue), other than as the height of coldblooded
callousness, that such plaintiffs and prospective plaintiffs in the SLIP category
(even for the year 2002, no less) should simply have availed themselves of a Civil
Service Reform Act (CSRA) remedy through the Office of Special Counsel (OSC)
as if that were a credible position to advocate? See, e.g., Defendant Monica M.
Goodling’s Reply Memorandum in Further Support of Her Motion to Dismiss,
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                                       Conclusion

       For the foregoing reasons, plaintiffs respectfully urge that their motion for

certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure and Rule 23.1 of the Local Civil Rules of this Court be granted.

An appropriate proposed order is attached hereto.

                                                    Respectfully submitted,



                                                    /s/ Daniel J. Metcalfe
Dated: February 9, 2009                             DANIEL J. METCALFE
                                                    D.C. Bar # 244293
                                                    4801 Massachusetts Ave., N.W.
                                                    Washington, D.C. 20016
                                                    (301) 509-2300
                                                    Counsel for Plaintiffs




filed Jan. 23, 2009, at 2 (speaking blithely of OSC “rectification . . . [i]n reality . . .
right now”) (emphasis in original); Defendant Michael Elston’s Reply
Memorandum in Support of Motion to Dismiss Plaintiffs’ Second Amended
Complaint, filed Jan. 23, 2009, at 7 (going so far as to suggest that a SLIP plaintiff
now could be “plac[ed]” by OSC “‘in the position [he or she] would have been in
had the prohibited personnel practice not occurred’”) (quoting statute); Defendant
Department of Justice’s Reply Memorandum at 19 (similarly adverting to CSRA).
Pointedly put, no defendant to this civil action should now be heard to even
suggest that typicality is lacking in this case in any such respect.
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

_____________________________________

SEAN M. GERLICH, et al.,

       Plaintiffs,

           v.                                     Civil Action No. 08-1134 (JDB)

UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

     Defendants.
_____________________________________

                                 PROPOSED ORDER

       Upon consideration of Plaintiffs’ Motion for Class Certification, of all

papers filed with respect thereto, and of the entire record herein, and it appearing

to the Court that the granting of the motion, pursuant to Rule 23 of the Federal

Rules of Civil Procedure and Rule 23.1 of the Local Civil Rules of this Court,

would be just and proper, it is by the Court on this ____ day of ___________ 2009

       ORDERED that Plaintiffs’ Motion for Class Certification be, and it hereby

is, granted; and it is further

       ORDERED that this civil action be, and it hereby is, certified as a class



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action in accordance with the class contours specified in plaintiffs’ motion.



                                       UNITED STATES DISTRICT JUDGE




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